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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,
     -against-                           Case No. 23-cr-490 (SHS)
ROBERT MENENDEZ et al.,
                 Defendants.



SENATOR ROBERT MENENDEZ’S MEMORANDUM OF LAW IN SUPPORT OF HIS
RENEWED MOTIONS TO DISMISS BASED ON LACK OF VENUE AND DUPLICITY,
                  AND HIS SEVERANCE MOTION


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       Senator Robert Menendez respectfully submits this memorandum of law in support of his

motions to dismiss the fourth superseding indictment (the “S4 Indictment”) based on lack of venue

and duplicity, and in support of his severance motion. These motions had been previously briefed

with respect to the S2 Indictment (ECF No. 137), but given the filing of the S4 Indictment on

March 5, 2024 (ECF No. 238), Senator Menendez submits this memorandum to supplement the

arguments previously advanced. Put simply, the expanded S4 Indictment exacerbates the

fundamental flaws noted in the S2 Indictment that merit the relief sought by Senator Menendez.

I.     THE S4 INDICTMENT FAILS TO ADEQUATELY ALLEGE VENUE

       Senator Menendez incorporates the arguments presented in his prior motion to dismiss

regarding lack of venue. See ECF No. 137 at 6-17; ECF No. 188 at 4-16.

       A.      The Indictment Fails to Sufficiently Allege Venue for Counts I, II, III, and XV.

       As previously briefed, venue is not sufficient as to any of the conspiracy counts previously

charged in the S2 Indictment. While the S4 Indictment advances two new allegations in an effort

to establish venue for those counts, both allegations fail to solve the problem.

       First, the S4 Indictment alleges that “Jose Uribe requested that Associate-2, who was in

the Bronx at the time, make a financing payment” on Nadine Menendez’s car. S4 Indict. ¶ 78(b).

Pause to consider just how far the government must stretch to find any link to this venue. This is

not an allegation that anyone did anything in the SDNY. It is merely an allegation that Uribe gave

a direction to a third party (not even a co-conspirator) while that person happened to be in the

SDNY. That is nowhere close to sufficient. Certainly absent any facts tying Associate-2’s alleged

presence in the Bronx to the purposes of the conspiracy, or suggesting that Senator Menendez (or

even any alleged co-conspirator) had any knowledge of Associate-2’s location, there is no basis to

conclude—even assuming the truth of these allegations—that venue in the SDNY was reasonably




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foreseeable to the Senator. See United States v. Bezmalinovic, 962 F. Supp. 435, 441 (S.D.N.Y.

1997) (venue for bank-fraud charge was improper because “Defendant did not intend and could

not have foreseen that any acts would occur in the Southern District, and no decisions were made

by the target of the fraud in the Southern District.”).

       Second, the Indictment alleges that Daibes arranged a ride home from JFK Airport for the

Senator and Nadine Menendez, and that they drove through the District to New Jersey. S4

Indict.¶ 78(f). But again, the Indictment includes no allegation connecting this car ride to the

alleged scheme, let alone how this car ride may have conceivably furthered any such scheme. The

fact that co-conspirators once happened to cross through a district is obviously insufficient on its

own to establish venue.

       B.      The Indictment Fails to Sufficiently Allege Venue for Count IV.

       Count IV alleges that the Senator conspired to obstruct the prosecution of Daibes pending

in the District of New Jersey—not in this District. The S4 Indictment relies on two overt acts to

attempt to establish venue: the ride home from JFK Airport, see supra I(A), and the sale of gold to

a Manhattan jeweler, see ECF No. 137 at 15-16; ECF No. 188 at 13-15. Once again, the S4

Indictment makes no effort to connect these acts in any way to the furtherance of the obstruction

(in New Jersey) of the prosecution of Daibes.

       C.      The Indictment Fails to Sufficiently Allege Venue for Substantive Counts V, VII-

XI, XIII-XIV, and XVI.

       Venue is more narrowly construed for substantive charges than for conspiracy charges. See,

e.g., United States v. Tzolov, 642 F.3d 314, 318-20 (2d Cir. 2011) (finding venue improper on a

substantive securities-fraud count despite being proper on the associated conspiracy counts). For

substantive offenses, the act constituting the substantive crime itself must take place in the district




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of prosecution See id. That is, absent a statutory venue provision, one of the crime’s “essential

conduct elements” must have taken place in this District. United States v. Rodriguez-Moreno, 526

U.S. 275, 279 (1999) (quoting United States v. Cabrales, 524 U.S. 1, 7 (1998)). “In performing

this inquiry, a court must initially identify the conduct constituting the offense (the nature of the

crime) and then discern the location of the commission of the criminal acts.” Id. This is often done

by looking to the key verbs in the statute, which indicate the essential conduct that constitutes the

offense. Under that test, “venue is not proper in a district in which the only acts performed by the

defendant were preparatory to the offense and not part of the offense.” Tzolov, 642 F.3d at 319

(quoting United States v. Beech-Nut Nutrition Corp., 871 F.2d 1181, 1190 (2d Cir. 1989)). This is

true regardless of whether the alleged crime is a continuing offense or whether the act would

suffice for venue on a conspiracy charge. Beech-Nut, 871 F.2d at 1190-91.

       Where, as here, the Indictment does not adequately allege that the essential conduct of

charged offenses took place in the prosecuting district, “a court should ask whether the criminal

acts in question bear ‘substantial contacts’ with any given venue.” United States v. Saavedra, 223

F.3d 85, 93 (2d Cir. 2000) (quoting United States v. Reed, 773 F.2d 477, 481 (2d Cir. 1985)). This

substantial-contacts test considers “(1) the site of the crime, (2) its elements and nature, (3) the

place where the effect of the criminal conduct occurs, and (4) suitability of the venue chosen for

accurate factfinding.” Id. It is undisputed that this test applies to substantive counts when the venue

of prosecution imposes hardship or unfairness on a defendant.

       Finally, on any charge, when venue relies on acts committed by someone other than the

defendant, “the acts’ occurrence in the district of venue [must] have been reasonably foreseeable




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to the defendant.” United States v. Davis, 689 F.3d 179, 186 (2d Cir. 2012) (cleaned up) (quoting

United States v. Rommy, 506 F.3d 108, 123 (2d Cir. 2007)).

        The Substantive Bribery Counts: Counts Five and Eleven of the Indictment charge the

Senator with bribery under 18 U.S.C. §§ 201(b)(2)(A) and (C). The essential conduct—the acts

constituting a bribery offense under § 201(b)(2)—are “demand[ing], seek[ing], receiv[ing],

accept[ing], or agree[ing] to receive or accept anything of value.” Id. § 201(b)(2); see also United

States v. Stephenson, 895 F.2d 867, 874 (2d Cir. 1990) (finding these acts to constitute the key

elements for venue purposes). The Indictment nowhere alleges that the Senator demanded, sought,

received, accepted, or agreed to receive or accept a bribe in this District. All of the relevant factual

allegations, to the extent they are specific, center on New Jersey and, to a lesser degree, the District

of Columbia. 1 Likewise, there is no allegation that the effect of any alleged bribe occurred in this

district, or that any other “substantial contact” exists between SDNY and the bribery scheme. On

a substantive charge, this is fatal to the government’s assertion of venue.

        Substantive Wire Fraud Counts: Counts Seven, Nine, and Thirteen charge the Senator

with honest-services wire fraud under 18 U.S.C. § 1343. The essential conduct on a wire-fraud

count is “transmit[ting] or caus[ing] to be transmitted by means of wire, radio, or television

communication in interstate or foreign commerce, any writings, signs, signals, pictures, or sounds”

for a fraudulent purpose. 18 U.S.C. § 1343; see United States v. Ramirez, 420 F.3d 134, 145 (2d




1
 With respect to the few dinners alleged to have occurred in this District, the Indictment makes
no allegation that any conduct constituting any part of a bribery offense occurred at any such
dinners. S4 Indict. ¶ 78(a), (e).


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Cir. 2005) (finding that only the actions, and not the devising of a scheme, constitute the essential

conduct elements of a fraud charge).

       Again, the S4 Indictment fails to include any allegations showing that the Senator made or

caused any fraudulent transmissions from or to this District. See United States v. Rutigliano, 790

F.3d 389, 397-98 (2d Cir. 2015). Nor does the Indictment identify any wires to or from this District

that the Senator caused others to make and that were reasonably foreseeable to the Senator. In sum,

the government has not alleged that any acts involving wire fraud took place here, let alone the

essential conduct elements of that offense. And the same is true with respect to allegations of

substantial contacts – there is no claim that the impact of unidentified wire activity was felt in this

District nor any other claim of substantial contacts. Venue therefore fails under that test as well.

       Substantive Hobbs Act Extortion. Counts Eight, Ten, and Fourteen charge the Senator with

extortion under color of official right, which requires the government to prove, as an element, that

his alleged actions affected interstate commerce. 18 U.S.C. § 1951(a) (prohibiting “obstruct[ing],

delay[ing], or affect[ing] commerce or the movement of any article or commodity in commerce,

by robbery or extortion”). The government must show that he either committed one of these

prohibited acts in this District or that he reasonably foresaw an effect on commerce here. See

United States v. Davis, 689 F.3d 179, 186 (2d Cir. 2012). 2 But the Indictment alleges no facts to

establish either that the Senator’s alleged actions took place in this District or that any effect on

commerce here was reasonably foreseeable to him. For instance, to the extent the government

relies on the alleged sale or purchase of gold in the District, it has failed to allege that any such

transactions, or their effects on commerce in the District, were reasonably foreseeable to the


2
 The Senator maintains that neither the Hobbs Act, the venue statutes, nor the Constitution
permits venue based solely on where the effects on commerce are felt, and that the Second
Circuit’s contrary holding, see Davis, 689 F.3d at 186, was erroneous.


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Senator. 3 All of these transactions are alleged to have been carried out by others; all of the relevant

factual allegations involving the Senator center on other districts. And, again, there is no allegation

of substantial contact between this District and an extortion offense either. Consequently, the

Indictment fails to allege facts sufficient to establish proper venue on these counts as well.

       Substantive FARA Count. Count Sixteen alleges that the Senator violated FARA by acting

“as an agent of the government of Egypt and Egyptian officials . . . through political activities,

acting as a political consultant, and representing the interests of the Government of Egypt and

Egyptian officials before agencies and officials of the Government of the United States.” S4 Indict.

¶ 112. But it does not allege that he carried out any such acts in this District. To the contrary, the

essential conduct that is alleged—political activities, political consulting, and representation

before federal agencies and officials—all are alleged to have occurred in Washington, D.C., and

to some extent in New Jersey, without any substantial contact with this District. The Indictment

thus insufficiently alleges venue on this count as well.

       For these reasons, these substantive counts must be dismissed or, in the alternative,

transferred to the District of New Jersey pursuant to Rule 21 of the Federal Rules of Criminal

Procedure. See ECF No. 137 at 16-17.

       D.      Bill of Particulars

       At a minimum, a bill of particulars is warranted to provide the Senator fair notice as to the

basis for the government’s alleged venue as to each count. Neither the government’s

representations to counsel, nor the amendments to the Indictment, have alleviated the need for this



3
 Indeed, the Indictment does not even allege that any Defendant sold gold in this District.
Rather, it alleges that, eventually, gold was resold by an unnamed individual in this District. ¶
78(g). The government asserts no basis (because there is none) for concluding that such resale in
this District was foreseeable to Senator Menendez.


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information. For instance, the Indictment fails to provide notice of which wire communications

are at issue, let alone how they furthered a scheme to defraud. On this point, and others, the Court

should at minimum order the government to provide such notice in a bill of particulars. See United

States v. Reale, 1997 WL 580778, at *14 (S.D.N.Y. Sept. 17, 1997) (granting motion for a bill of

particulars “identifying the specific mailings and wire transfers and the approximate dates alleged”

on substantive mail and wire fraud counts); United States v. Dorfman, 335 F. Supp. 675, 680

(S.D.N.Y. 1971) (granting motion for a bill of particulars to identify specific wire transmissions

alleged and ruling that “[i]f the defendant can successfully move against these counts for

jurisdictional deficiency, he should be given the means to do so”).

       Without notice of the government’s basis for venue—which, from the S4 Indictment and

the government’s representations, appear to be entirely lacking—the Senator will be deprived of a

fair opportunity to investigate and rebut them at trial. This is no less true for the S4 Indictment’s

new challenged counts.

II.     The S4 Indictment Confirms the Duplicity Inherent in Counts I-III

       Senator Menendez incorporates the arguments presented in his prior motion to dismiss

regarding the Indictment’s duplicity. See ECF No. 137 at 17-26; ECF No. 188 at 16-27.

       The S4 Indictment makes the duplicitous nature of the conspiracy charges in Counts I, II,

and III even more prominent. Specifically, the S4 Indictment carefully divides the new substantive

counts such that each addresses only one distinct “scheme” even as the conspiracy counts continue

to embrace multiple distinct schemes. For example, while the S4 Indictment charges one

conspiracy to commit honest services wire fraud count (Count II), the Indictment charges three

substantive honest services wire fraud counts regarding (1) “Actions to Benefit HANA and Egypt”

(Count VII), (2) “Actions to Benefit Uribe and Uribe’s Associates” (Count IX), and (3) “Actions




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to Benefit DAIBES and Qatar” (Count XIII). 4 The government’s inclusion of decoupled

substantive counts only exposes that the government could have and should have decoupled each

conspiracy count to align with the various alleged schemes. Thus, in including these substantive

counts, the government did not cure the Indictment’s defects (because the conspiracy counts are

still impermissibly duplicitous), but only proved their existence.

       Failure to decouple the conspiracy counts not only threatens to prejudice Senator

Menendez’s constitutional rights, it also jeopardizes the entire trial given the risk of a non-

unanimous guilty verdict. See ECF No. 137 at 25; ECF No. 188 at 18, 23, 26. The simplest way to

mitigate this risk is to require non-duplicitous counts (which the government could have included

in this Indictment). For the reasons stated herein as well as in his Second Motion to Dismiss and

Reply briefings, Senator Menendez requests that this Court require the government to file a new

indictment decoupling the conspiracy counts (Counts I, II, and III) or, in the alternative, require

the use of a special jury verdict form. See ECF No. 137 at 17-26; ECF No. 188 at 16-27.

II.    The S4 Indictment Only Magnifies the Prejudice that Necessitates Severance of the
       Senator’s and Nadine Menendez’s Trials

       Senator Menendez incorporates the arguments presented in his prior motion to dismiss

supporting severance of his trial from his co-defendants’. See ECF No. 137 at 26-39; ECF No. 188

at 27-42.

       The two new obstruction of justice counts (Counts Seventeen and Eighteen) in the S4



4
 While the government charges only three schemes in its various counts, Senator Menendez
maintains the Indictment actually alleges five schemes because the government has combined
two schemes relating to Daibes (the Federal Prosecution Scheme and the Qatar Investment
Scheme) into a single substantive count, and similarly combined the Egyptian Aid Scheme and
the IS EG Halal Scheme into a single count. See ECF 137 at 21-22. At minimum, however, and
regardless of how one divides the schemes, the S4 indictment demonstrates that there are
multiple distinct ones within each overbroad conspiracy count.


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Indictment underscore the need for severance. Those counts introduce new privilege issues that

dramatically increase the risk of prejudice that would accrue to Senator Menendez in a joint trial.

Specifically, the two counts rely upon the allegation that Nadine Menendez (but not Senator

Menendez) and Jose Uribe conspired to falsely convey to law enforcement that car payments that

Uribe made on Nadine’s behalf were loans for which Uribe expected repayment. 5 S4 Indict. ¶ 69.

The S4 Indictment also alleges that Nadine Menendez wrote checks to Jose Uribe and Wael Hana,

which, in the memo lines, falsely indicated that such checks were delivered in order to repay loans.

Id. ¶ 116 (b), (d).

        If Senator Menendez has a constitutional right to testify in his own defense at trial, but

exercising that right may require him to disclose confidential communications with his wife

Nadine regarding the loans provided by Wael Hana and Jose Uribe. These statements would tend

to exculpate the Senator by demonstrating his lack of knowledge of anything unlawful vis-à-vis

these payments. Because the government may claim that these same communications inculpate

Nadine, however, Nadine may assert the spousal-communications privilege to prevent the Senator

from so testifying. See ECF No. 137 at 29-30. This is yet another way in which a joint trial will

serve to compromise one of the Senator’s “specific trial rights” – i.e., the right to testify in his own

defense as to private statements between himself and his wife. See id. at 31. That risk would be




5
 In his March 1 plea allocution, Jose Uribe did not reference any agreement with Senator
Menendez regarding this alleged obstruction conspiracy. See Weitzman Decl. Ex. A (Plea Tr.) at
32:16-24. Indeed, the FBI 302s of Uribe’s proffers produced by the government confirm that
Uribe never discussed the loan or car payments with the Senator, and never had an agreement
with the Senator regarding any alleged obstructive conduct or statements.


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completely eliminated in separate trials, where the Senator could testify freely without the chance

that Nadine may assert the privilege.

                                               ***

       Simply put, the S4 Indictment did not resolve the legal deficiencies in the S2 Indictment

and it introduces many new ones. As such, Senator Menendez’s renewed motion to dismiss should

be granted.



                                                     /s/ Adam Fee

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